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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                    )
            v.                      )
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                   Defendant.       )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )            Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)
                                    )
WOODLAWN, LLC,                      )
                                    )
            Petitioner.             )
____________________________________)

UNITED STATES’ MOTION FOR DISCOVERY UNDER FEDERAL RULES OF CIVIL
 PROCEDURE 56(d) AND 32.2(c)(1)(B) AND DENIAL OF PETITIONER’S MOTION
                     FOR SUMMARY JUDGMENT

       The United States of America, by and through its undersigned counsel, hereby moves the

Court, pursuant to Federal Rule of Civil Procedure 56(d) and Federal Rule of Criminal Procedure

32.2(c)(1)(B), to authorize the United States to take discovery on the Petition of Woodlawn, LLC

asserting an interest in 123 Baxter Street, #5D, New York, New York 10016 and to deny

Petitioner’s motion for summary judgment (Dkt. No. 44). For the reasons set forth in the

accompanying United States’ Statement of Points and Authorities in Support of its Motion for

Discovery and In Opposition to Petitioner Woodlawn LLC’s Motion for Summary Judgment,

and the documents filed in support thereof, discovery is necessary to enable the government fully

to respond to Petitioner’s Motion for Summary Judgment and is desirable to resolve factual

issues raised by Woodlawn’s Petition. For the reasons set forth in its memorandum and
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supporting documents, the United States asks the Court to deny Woodlawn’s Motion for

Summary Judgment as premature, because factual issues remain in dispute, and because

Petitioner has not established its entitlement to relief. A proposed order is attached.

                                              Respectfully submitted,

                                              ROBERT S. MUELLER, III
                                              Special Counsel

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2019, I have provided notice of the forgoing through

the Court’s Electronic Filing System to such counsel of record or pro se litigants as have

consented to accept service through such means. I have also transmitted a copy of this filing via

electronic mail to the following, who do not appear to have registered for notice through the

Court’s Electronic Filing System or who have not filed an appearance in this matter:

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